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IN RE VIOXX PROD UCTS L1AB!LITY LITIGA TION ;-'"~"'F;-€ § §
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On February 16, 2005, the Panel transferred 138 c1vll actions to the United States Dlstrict"Court for-the '
Eastem District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 282 additional actions have been transferred to the Eastem District of

Louisiana. With the consent of that court, all such actions have been assigned to the Honorable Eldon E.
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure ofthe Judicial Panel on Multidistrict Litiaation, 199
F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
of Louisiana for the reasons stated in the order of February 16, 2005, _%F.Supp.2d_ (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Offlce of the Clerl< of the United States
District Court for the Eastern District of Louisiana. The transmittal ofthis order to said Clerl< shall be
stayed fifteen (l 5) days from the entry thereof and if any party files a notice of opposition with the Clerk
ofthe Panel within this fifteen (15) day period, the stay will be continued until further order ofthe Panel.

FOR THE PANEL:

Wl.£»a

Michael J. l§eck

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r Clerk of the Panel
Inasmuch as no objection is

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pending at this rime. the §

 

A TRUE COPY
stay is litted.

AFH 21 2005 ` """ °‘e"“--------»

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De£pul{ C|erk, U.S. Dtstrict Court ‘"Z`~' ,L§kl_d __L.._
CLERK'S OFFK;E as ern D|strict of Louisiana ""`_ WRF "1?€'£>_?¢);?__
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MULTID!STR|CT LlTlGATlON O$- l 0 Q;,q Qb\

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ease 1:05-cv-01064-JDT-SWIP§§\§UQ§§DEWIQ§/Q;OC/)C§RTPGQ€ 2 01c 4 PHQ€

EASTERN DISTRICT oF LoUISlANA
OFFICE oF run CLERK

LORETTA G. WHYTE 500 PoYDRAs ST., RooM C-i$l
NEw ORLEANS, LA 70130

CLERK
May 2, 2005

Robert DiTrolio, Clerk
United States District Court

  

Western District of Tennessee

167 N. Main Street, Room 242 §§ :»_;-~_;
Memphis, TN 38103 j §§ 5~~§-`§
'__ v "
':- ,‘ 5 m g 'i' "

In Re: MDL 1657 Vioxx Products Liability Litigation Your Case No. C.A. 1:05-1064,=-D_a$id 33 l`
Robbins v. Merck & Co., lnc. ;3_3` § ;-.:§`I;;
our ease No. C.A. 05-1582 L E<),':` " §~»'~-z
m-_iO §§ ‘.,“__,~“

Dear Mr. DiTrolio:

Enclosed is a certified copy of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the case listed above be transferred to our district for disposition
pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned a new civil action number

to this case as referenced above.

DO NOT FORWARD TH`E ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor

COllI't.

Due to the high volume of cases involved in this litigation please provide paper copies of
the above documents instead of simply referring to your website. Your prompt attention in this

matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at

(504)589-7704.
Very truly yours,

Loreaa G.Ml:k_/
BY

Deputy Clerk

Enclosures

cc: Judicial Panel on Multidistrict Litigation

Case 1:05-cv-01064-.]DT-STA Document 24 Filed 05/10/05 Page 3 of 4 Page|D 9

IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

Robert R. Di Trolio
Clerk of Court

May 11, 2005

United States District Court
Eastern District of Louisiana
Offlce of the Clerk of Court
500 Poydras St., Room C-151
New Orleans, LA 70130

RE: Our Case No. 05-1064 -T/An
Your Case No. 05-1582 L (3)

Dear Clerk:

EASTERN DIVISION

111 South I-Iighland Ave., Roorn 262

Jaekson, Tennessee 38301
731-421-9200
731-421-9210 Fax

David Robbins vs. Merck & Co., lnc., Et al.,
MDL # 1657 f Vioxx Products Liability Litigation

Pursuant to the Order of Transfer on above referenced case, please find enclosed a certified copy of the
Notice of Removal, Lower Court Cornplaint, Docket Sheet, MDL Transfer Order, and a copy of the transfer
letter to the transferor court. Thank you for your attention in this matter.

Robert R. Di Trolio, Clerk

BY: C, :>DJ\QKJ

Deputy Clerk

ENCLOSURES

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:05-CV-01064 Was distributed by faX, mail, or direct printing on
May 11, 2005 to the parties listedl

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

